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Q>\\}\§ IN THE DISTRICT COURT IN AND FOR TULSA COUNTY
STATE OF OKLAHOMA

DISTRICT coURT g
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FEB -5 2013 g

ROCHELLE HART,

'Plainciff,
vs. f ` ease No. CJ'-2011_-731
` wm HowE sMn“H, count mg
JENNIFER DAVINA LAY and NATIonlDE °'"‘°FQM nw

PROPERTY & CASUALTY INS. CO.,
JURY TRIAL DEMANDED

ATTORNEY LIEN CLAIMED

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Defendant.
FIRST AMENDED PETITION ADDING ADDITIONAL DEFENDANT

COMES NOW the PlaintiffRochelle Hart, and for her claim against Nationwide Property &
Casualty Ins. Co. (“Nationwide”) states:

1. At all times relevant here, Plaintiff had in force an automobile insurance policy with
Nationwide for which she regularly paid premiums The Defendant tortfeasor has rendered its
liability limits and has been released from liability with a subrogation waiver from Nationwide.

2. Plaintiff has made a demand for underinsured motorist benefits upon Nationwide, but

Nationwide has not responded.

3. Nationwide’ s failure is a breach of its insurance contract with her for which Plaintiff

is entitled to a judgment in excess of $75,000.00.

4. Further,'Nationwide’ s breach is unreasonable under the circumstances and was made

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with the intent to deprive the Plaintlff of her msurance benefits and constitutes the tort ot;insui§‘!ce
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bad faith, for which Plaintiff is entitled to damages in excess of $'75,000.00 plus punqiy¢ darri"§gt eS,
costs and attorney fees.

 

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WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against
Nationwide, as set forth above.

Respectfully submitted,

    

 

R` E. Warzynski, OBA #14079

G. Steven Stidham, OBA #8633

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ATToRNEYs FOR PLAINTIFF RoCHELLE HART

CERTIFICATE oF SERvICE

The undersigned hereby certifies that on the 5th day of February, 2013, a true and correct
copy of the above and foregoing instrument was mailed with postage prepaid thereon, via first class
mail to:

Timothy Crow, Esq.
SCHROEDER & ASSOCIATES
110 West 7th Street, Suite 1200
Tulsa, OK 74119

ATTORNEY FoR DEFENDANT '

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ard E. Warzynski

